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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 BE LABS, INC.,                                    )
                                                   )
                           Plaintiff,              )
                                                   )
                v.                                 )   C.A. No. 21-1396 (CFC)
                                                   )
 VIASAT, INC.,                                     )
                                                   )
                           Defendant.              )


                                   STIPULATION AND ORDER

       IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that the

time for the defendant to answer, move or otherwise respond to the Complaint is extended until

January 20, 2022.

 GAWTHROP GREENWOOD, PC                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

 /s/ David W. deBruin                            /s/ Brian P. Egan

 David W. deBruin (#4846)                        Jack B. Blumenfeld (#1014)
 3711 Kennett Pike, Suite 100                    Brian P. Egan (#6227)
 Wilmington, DE 19807                            1201 North Market Street
 (302) 777-5353                                  P.O. Box 1347
 ddebruin@gawthrop.com                           Wilmington, DE 19899
                                                 (302) 658-9200
 Attorneys for Plaintiff                         jblumenfeld@morrisnichols.com
                                                 began@morrisnichols.com

                                                 Attorneys for Defendant


               SO ORDERED this____day of December, 2021.


                                        ______________________________________________
                                        Chief, United States District Judge
